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                                                                                   APPEAL,TYPE−E
                                U.S. District Court
                     District of Columbia (Washington, DC)
               CIVIL DOCKET FOR CASE #: 1:18−cv−00594−CRC

PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED                 Date Filed: 03/16/2018
v. FEDERAL REPUBLIC OF NIGERIA et al                        Jury Demand: None
Assigned to: Judge Christopher R. Cooper                    Nature of Suit: 890 Other Statutory
Cause: 09:0202 Award under Convention on Foreign Arbitral   Actions
Awards                                                      Jurisdiction: Federal Question
Petitioner
PROCESS AND INDUSTRIAL                       represented by Michael S. Kim
DEVELOPMENTS LIMITED                                        KOBRE & KIM LLP
                                                            1919 M Street, NW
                                                            Suite 410
                                                            Washington, DC 20036
                                                            (202) 664−1900
                                                            Fax: (202) 664−1920
                                                            Email: michael.kim@kobrekim.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Josef Maxim Klazen
                                                            KOBRE & KIM LLP
                                                            1919 M Street, NW
                                                            Suite 410
                                                            Washington, DC 20036
                                                            202−664−1900
                                                            Email: josef.klazen@kobrekim.com
                                                            ATTORNEY TO BE NOTICED

                                                            Marcus Johnson Green
                                                            KOBRE & KIM, LLP
                                                            800 Third Avenue
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                                                            New York, NY 10022
                                                            (212) 488−1200
                                                            Email: marcus.green@kobrekim.com
                                                            ATTORNEY TO BE NOTICED


V.
Respondent
FEDERAL REPUBLIC OF NIGERIA                  represented by Joseph Dominic Pizzurro
                                                            CURTIS, MALLET−PREVOST, COLT
                                                            & MOSLE LLP
                                                            1717 Pennsylvania Avenue, NW
                                                            Washington, DC 20006

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                                                     (212)696−6170
                                                     Fax: (212)697−1559
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Kevin Arthur Meehan
                                                     CURTIS, MALLET−PREVOST, COLT
                                                     AND MOSLE, LLP
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                                                     New York, NY 10178
                                                     212−696−6000
                                                     Fax: 212−697−1559
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

Respondent
MINISTRY OF PETROLEUM                   represented by Joseph Dominic Pizzurro
RESOURCES OF THE FEDERAL                               (See above for address)
REPUBLIC OF NIGERIA                                    LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                     Juan Otoniel Perla
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                     Kevin Arthur Meehan
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED


Date Filed   #   Page Docket Text
03/16/2018   1        PETITION TO CONFIRM ARBITRATION AWARD against FEDERAL
                      REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF
                      THE FEDERAL REPUBLIC OF NIGERIA ( Filing fee $ 400 receipt number

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                   0090−5378116) filed by PROCESS AND INDUSTRIAL DEVELOPMENTS
                   LIMITED. (Attachments: # 1 Summons, # 2 Summons, # 3 Civil Cover
                   Sheet)(Green, Marcus) (Entered: 03/16/2018)
03/16/2018   2     MEMORANDUM re 1 Petition to Confirm Arbitration Award, filed by
                   PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED by PROCESS
                   AND INDUSTRIAL DEVELOPMENTS LIMITED. (Green, Marcus) (Entered:
                   03/16/2018)
03/16/2018   3     AFFIDAVIT re 1 Petition to Confirm Arbitration Award, (Declaration of
                   Seamus Ronald Andrew) by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                   Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit
                   8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                   13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18
                   Exhibit 18)(Green, Marcus) (Entered: 03/16/2018)
03/16/2018   4     AFFIDAVIT re 1 Petition to Confirm Arbitration Award, (Declaration of
                   Marcus J. Green) by PROCESS AND INDUSTRIAL DEVELOPMENTS
                   LIMITED. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Green, Marcus)
                   (Entered: 03/16/2018)
03/16/2018   5     LCvR 7.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and
                   Financial Interests by PROCESS AND INDUSTRIAL DEVELOPMENTS
                   LIMITED (Green, Marcus) (Entered: 03/16/2018)
03/16/2018         Case Assigned to Judge Christopher R. Cooper. (jd) (Entered: 03/20/2018)
03/19/2018   6     ERRATA (Corrected first page of Petition) by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED 1 Petition to Confirm Arbitration Award, filed
                   by PROCESS AND INDUSTRIAL DEVELOPMENTS LIMITED.
                   (Attachments: # 1 Errata)(Green, Marcus) (Entered: 03/19/2018)
03/20/2018   7     SUMMONS (2) Issued Electronically as to FEDERAL REPUBLIC OF
                   NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                   REPUBLIC OF NIGERIA. (Additional attachment(s) added on 3/20/2018: # 1
                   Notice and Consent) (jd) (Entered: 03/20/2018)
03/20/2018   8     AFFIDAVIT REQUESTING FOREIGN MAILING re 1 Petition to Confirm
                   Arbitration Award, 7 Summons Issued Electronically by PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED. (Green, Marcus) (Entered:
                   03/20/2018)
03/22/2018   9     REQUEST from Plaintiff's for the Clerk to effect service of one copy of the
                   summons, complaint, and notice of suit, together with a translation of each into
                   the official language of the foreign state, by FEDEX, to the head of the ministry
                   of foreign affairs, pursuant to 28 U.S.C. 1608(a)(3). (See docket entry no. 8 to
                   view.) (td) (Entered: 03/22/2018)
03/22/2018   10    CERTIFICATE OF CLERK of mailing one copy of the summons and
                   complaint, together with a translation of each into the official language of the
                   foreign state on 3/22/18, by FEDEX, to the agency or instrumentality of the
                   foreign state, pursuant to 28 U.S.C. 1608(a)(3). (Attachments: # 1 FedEx
                   Mailing Labels) (td) (Entered: 03/22/2018)
04/16/2018   11
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                   NOTICE of Appearance by Michael S. Kim on behalf of PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED (Kim, Michael) (Entered:
                   04/16/2018)
04/16/2018   12    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                   to FEDERAL REPUBLIC OF NIGERIA served on 3/27/2018, answer due
                   5/26/2018; MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                   REPUBLIC OF NIGERIA served on 3/27/2018, answer due 5/26/2018. (Kim,
                   Michael) (Entered: 04/16/2018)
05/29/2018   13    NOTICE of Appearance by Josef Maxim Klazen on behalf of PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED (Klazen, Josef) (Entered:
                   05/29/2018)
06/04/2018   14    AFFIDAVIT FOR Default by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED (Attachments: # 1 Exhibit 1, # 2 Exhibit
                   2)(Klazen, Josef) Modified text on 6/8/2018 (ztd). (Entered: 06/04/2018)
06/05/2018         NOTICE OF ERROR re 14 Motion for Entry of Default; emailed to
                   josef.klazen@kobrekim.com, cc'd 2 associated attorneys −− The PDF file you
                   docketed contained errors: 1. Do Not Refile. In the future, please use the default
                   forms on the courts website. (ztd, ) (Entered: 06/05/2018)
06/05/2018   15    SET ASIDE PURSUANT TO MINUTE ORDER FILED 7/13/18. . . . . Clerk's
                   ENTRY OF DEFAULT as to FEDERAL REPUBLIC OF NIGERIA,
                   MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                   REPUBLIC OF NIGERIA (ztd) Modified on 7/16/2018 (ztd). (Entered:
                   06/05/2018)
06/12/2018   16    NOTICE of Appearance by Joseph Dominic Pizzurro on behalf of FEDERAL
                   REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF
                   THE FEDERAL REPUBLIC OF NIGERIA (Pizzurro, Joseph) (Entered:
                   06/12/2018)
06/12/2018   17    MOTION to Set Aside Default , MOTION to Dismiss by FEDERAL
                   REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF
                   THE FEDERAL REPUBLIC OF NIGERIA (Attachments: # 1 Memorandum in
                   Support, # 2 Declaration −Joseph D. Pizzurro, # 3 Exhibit −1, # 4 Exhibit −2, #
                   5 Text of Proposed Order, # 6 Certificate of Service)(Pizzurro, Joseph)
                   (Entered: 06/12/2018)
06/14/2018   18    NOTICE Request to Issue Additional Summonses by PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED (Klazen, Josef) (Entered:
                   06/14/2018)
06/14/2018   19    REQUEST FOR SUMMONS TO ISSUE Additional Summonses re 18 Notice
                   (Other) filed by PROCESS AND INDUSTRIAL DEVELOPMENTS
                   LIMITED. Related document: 18 Notice (Other) filed by PROCESS AND
                   INDUSTRIAL DEVELOPMENTS LIMITED.(Klazen, Josef) (Entered:
                   06/14/2018)
06/18/2018   20    Summons (2) Issued as to FEDERAL REPUBLIC OF NIGERIA, MINISTRY
                   OF PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF
                   NIGERIA. (ztd) (Entered: 06/18/2018)
06/18/2018   21
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                   AFFIDAVIT REQUESTING FOREIGN MAILING re 1 Petition to Confirm
                   Arbitration Award, 20 Summons Issued by PROCESS AND INDUSTRIAL
                   DEVELOPMENTS LIMITED. (Kim, Michael) (Entered: 06/18/2018)
06/21/2018   22    REQUEST from Plaintiff's for the Clerk to effect service upon defendants of
                   one copy of the summons, complaint, and notice of suit, together with a
                   translation of each into the official language of the foreign state, by FEDEX, to
                   the head of the ministry of foreign affairs, pursuant to 28 U.S.C. 1608(a)(3).
                   (SEE DOCKET ENTRY NO. 21 TO VIEW.) (ztd) (Entered: 06/21/2018)
06/21/2018   23    CERTIFICATE OF CLERK of mailing one copy of the summons and
                   complaint, together with a translation of each into the official language of the
                   foreign state, upon defendants, on 6/21/18, by FEDEX, to the agency or
                   instrumentality of the foreign state, pursuant to 28 U.S.C. 1608(a)(3).
                   (Attachments: # 1 FedEx Mailing Waybills) (ztd) (Entered: 06/21/2018)
06/26/2018   24    Memorandum in opposition to re 17 MOTION to Set Aside Default MOTION
                   to Dismiss filed by PROCESS AND INDUSTRIAL DEVELOPMENTS
                   LIMITED. (Attachments: # 1 Declaration, # 2 Exhibit 1 to Declaration, # 3
                   Exhibit 2 to Declaration, # 4 Certificate of Service)(Klazen, Josef) (Entered:
                   06/26/2018)
06/29/2018   25    RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as
                   to FEDERAL REPUBLIC OF NIGERIA served on 6/27/2018, answer due
                   8/26/2018; MINISTRY OF PETROLEUM RESOURCES OF THE FEDERAL
                   REPUBLIC OF NIGERIA served on 6/27/2018, answer due 8/26/2018.
                   (Klazen, Josef) (Entered: 06/29/2018)
07/03/2018   26    REPLY to opposition to motion re 17 MOTION to Set Aside Default MOTION
                   to Dismiss filed by FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                   PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA.
                   (Pizzurro, Joseph) (Entered: 07/03/2018)
07/06/2018   27    DECLARATION of Service by Josef M. Klazen of Summons and Complaint
                   Executed as to (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Klazen, Josef)
                   Modified text on 7/13/2018 (ztd). (Entered: 07/06/2018)
07/13/2018         MINUTE ORDER granting in part and denying in part 17 Respondents' Motion
                   to Set Aside the Clerk's Entry of Default and To Dismiss. The motion is
                   GRANTED to the extent it seeks to set aside the Clerk's entry of default
                   because Petitioner did not properly effectuate service of process under 28
                   U.S.C. section 1608(a)(3) by addressing the process documents to the "head of
                   the ministry of foreign affairs." See Barot v. Embassy of Zambia, 785 F.3d 26,
                   27 (D.C. Cir. 2015) (finding that strict adherence to 1608(a) is required). (The
                   Court would have set aside entry of default in any case in light of Nigeria's
                   recent appearance in the case, belated as it may be.) The motion is DENIED to
                   the extent it seeks dismissal of the petition. Signed by Judge Christopher R.
                   Cooper on 7/13/2018. (lccrc3) (Entered: 07/13/2018)
08/27/2018   28    MOTION to Dismiss for Lack of Jurisdiction Under The FSIA by FEDERAL
                   REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM RESOURCES OF
                   THE FEDERAL REPUBLIC OF NIGERIA (Attachments: # 1 Memorandum in
                   Support, # 2 Declaration −Joseph D. Pizzurro, # 3 Exhibit −A, # 4 Exhibit −B, #
                   5 Text of Proposed Order, # 6 Certificate of Service)(Pizzurro, Joseph)
                   (Entered: 08/27/2018)
                                                                                                       5
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08/27/2018   29       MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Kevin Arthur
                      Meehan, :Firm− Curtis, Mallet−Prevost, Colt & Mosle LLP, :Address− 101
                      Park Avenue, NY, NY 10178. Phone No. − 212−696−6197. Fax No. −
                      917−368−8835 Filing fee $ 100, receipt number 0090−5659476. Fee Status:
                      Fee Paid. by FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                      PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA
                      (Attachments: # 1 Declaration −Kevin Arthur Meehan, # 2 Text of Proposed
                      Order, # 3 Certificate of Service)(Pizzurro, Joseph) (Entered: 08/27/2018)
08/27/2018   30       MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Juan Otoniel
                      Perla, :Firm− Curtis, Mallet−Prevost, Colt & Mosle LLP, :Address− 101 Park
                      Avenue, NY, NY 10178. Phone No. − 212−696−6084. Fax No. −
                      212−697−1559 Filing fee $ 100, receipt number 0090−5659557. Fee Status:
                      Fee Paid. by FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                      PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA
                      (Attachments: # 1 Declaration −Juan Otoniel Perla, # 2 Text of Proposed Order,
                      # 3 Certificate of Service)(Pizzurro, Joseph) (Entered: 08/27/2018)
08/28/2018            MINUTE ORDER: Upon consideration of the Respondents' Motion 30 for
                      Admission of Attorney Juan Otoniel Perla Pro Hac Vice, it is hereby
                      ORDERED that the Motion is GRANTED. Signed by Judge Christopher R.
                      Cooper on 08/28/2018. (lccrc3) Modified on 8/29/2018 (zlsj). (Entered:
                      08/28/2018)
08/28/2018            MINUTE ORDER: Upon consideration of the Respondents' Motion 29 for
                      Admission of Attorney Kevin Arthur Meehan Pro Hac Vice, it is hereby
                      ORDERED that the Motion is GRANTED. Signed by Judge Christopher R.
                      Cooper on 08/28/2018. (lccrc3) Modified on 8/29/2018 (zlsj). (Entered:
                      08/28/2018)
09/05/2018   31       MOTION for Briefing Schedule by PROCESS AND INDUSTRIAL
                      DEVELOPMENTS LIMITED (Attachments: # 1 Text of Proposed Order, # 2
                      Certificate of Service)(Klazen, Josef) (Entered: 09/05/2018)
09/06/2018            MINUTE ORDER: Defendants shall file any opposition to Plaintiff's 31 Motion
                      for Setting a Briefing Schedule on or before September 11, 2018 and Plaintiff
                      shall file any reply on or before September 14, 2018. Plaintiff's deadline for
                      opposing Defendants' 28 Motion to Dismiss is hereby vacated until further
                      order of the Court. So Ordered. Signed by Judge Christopher R. Cooper on
                      09/06/2018. (lccrc3) (Entered: 09/06/2018)
09/11/2018   32       Memorandum in opposition to re 31 MOTION for Briefing Schedule filed by
                      FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF PETROLEUM
                      RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA. (Attachments: #
                      1 Text of Proposed Order, # 2 Certificate of Service)(Pizzurro, Joseph)
                      (Entered: 09/11/2018)
09/14/2018   33       REPLY to opposition to motion re 31 MOTION for Briefing Schedule On the
                      Petition to Confirm Arbitration Award filed by PROCESS AND INDUSTRIAL
                      DEVELOPMENTS LIMITED. (Attachments: # 1 Certificate of
                      Service)(Klazen, Josef) (Entered: 09/14/2018)
10/01/2018   34   11 ORDER granting 31 Motion for Briefing Schedule. It is hereby ORDERED that
                     the parties shall adhere to a briefing schedule as follows: Respondents shall file
                     their opposition to 1 Petition to Confirm Arbitration Award on or before
                                                                                                          6
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                    October 31, 2018; Petitioner shall file its reply on or before November 21,
                    2018. See full Order for details. Signed by Judge Christopher R. Cooper on
                    10/1/2018. (lccrc3) (Entered: 10/01/2018)
10/02/2018          Set/Reset Deadlines: Respondent's Opposition to Petition due by 10/31/2018.
                    Petitioner's Reply due by 11/21/2018. (lsj) (Entered: 10/02/2018)
10/04/2018          MINUTE ORDER: A hearing on the Petition to Confirm Arbitration Award is
                    set for December 20, 2018 at 10 AM in Courtroom 27A. Signed by Judge
                    Christopher R. Cooper on 10/04/2018. (lccrc3) (Entered: 10/04/2018)
10/04/2018          Set/Reset Hearings: Petition Hearing set for 12/20/2018 at 10:00 AM in
                    Courtroom 27A before Judge Christopher R. Cooper. (lsj) (Entered:
                    10/04/2018)
10/05/2018   35   8 NOTICE OF APPEAL TO DC CIRCUIT COURT as to 34 Order on Motion for
                    Briefing Schedule, by FEDERAL REPUBLIC OF NIGERIA, MINISTRY OF
                    PETROLEUM RESOURCES OF THE FEDERAL REPUBLIC OF NIGERIA.
                    Filing fee $ 505, receipt number 0090−5725071. Fee Status: Fee Paid. Parties
                    have been notified. (Pizzurro, Joseph) (Entered: 10/05/2018)




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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PROCESS AND INDUSTRIAL
DEVELOPMENTS LIMITED,

                                       Petitioner,
                          v.                                   Case No. 18-cv-00594-CRC

FEDERAL REPUBLIC OF NIGERIA AND
MINISTRY OF PETROLEUM RESOURCES OF
THE FEDERAL REPUBLIC OF NIGERIA,

                                    Respondents.

                                     NOTICE OF APPEAL

       Notice is hereby given that Respondents Federal Republic of Nigeria and the Ministry of

Petroleum Resources of the Federal Republic of Nigeria (together, “Nigeria”), hereby appeal to

the United States Court of Appeals for the District of Columbia Circuit from this Court’s

Opinion and Order dated October 1, 2018 [ECF No. 34] (“Order”) requiring Nigeria to defend

the merits of the petition to confirm an arbitral award (“Petition”), filed by Process and Industrial

Developments Limited (“P&ID”), before Nigeria’s assertion of sovereign immunity has been

conclusively resolved under the Foreign Sovereign Immunities Act (“FSIA”).

       By requiring Nigeria to defend this lawsuit on the merits before a conclusive and

authoritative decision on its sovereign immunity has been reached, the Order has the effect of

abrogating Nigeria’s immunity from suit, i.e., “immunity not only from liability, but also from

the costs, in time and expense, and other disruptions attendant to litigation.” Kelly v. Syria Shell

Petroleum Dev. B.V., 213 F.3d 841, 849 (5th Cir. 2000). See Butler v. Sukhoi Co., 579 F.3d

1307, 1311 (11th Cir. 2009) (“Inasmuch as the order on appeal required appellants to answer the

complaint and called for discovery, it denied them immunity from suit under the FSIA.”); In re

Republic of the Philippines, 309 F3d 1143, 1149 (9th Cir. 2002) (“We agree with the Republic




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that the district court should have addressed the merits of the immunity question first in order to

preserve the immunity that may be determined to exist.”); United States v. Moats, 961 F.2d 1198,

1201, 1203 (5th Cir. 1992) (finding that a denial of immunity had occurred, even though “the

district court did not specify lack of immunity,” because “the effect of the order [was] to require

Pemex to defend the lawsuit,” and observing that “sovereign immunity is an immunity from the

burdens of becoming involved in any part of the litigation process”); see also Blue Ridge Invs.,

L.L.C. v. Republic of Argentina, 735 F.3d 72, 80 (2d Cir. 2013) (explaining that a denial of

immunity from suit is no less injurious simply because the underlying action is based on a

petition to confirm an arbitral award, rather than an action implicating a trial). Thus, as a denial

of jurisdictional immunity under the FSIA, the Order is immediately appealable pursuant to the

collateral order doctrine. See Princz v. Fed. Republic of Germany, 998 F.2d 1, 1 (D.C. Cir.

1993) (per curiam) (Ginsburg, R.B., & Wald, J.J.); Butler, 579 F.3d at 1311; Republic of the

Philippines, 309 F3d at 1149; Moats, 961 F.2d at 1201; Blue Ridge, 735 F.3d at 72.

       Accordingly, this Court has been divested of jurisdiction to resolve the merits of P&ID’s

petition, and these proceedings are effectively stayed, pending the D.C. Circuit’s resolution of

Nigeria’s appeal from the denial of its jurisdictional immunity under the FSIA. See Princz, 998

F.2d at 1; Tatneft v. Ukraine, No. 17-cv-582-CKK, 2018 U.S. Dist. LEXIS 152356, at *2

(D.D.C. May 2, 2018); see also In re Socialist People’s Libyan Arab Jamahiriya, No. 04-7038,

2004 U.S. App. LEXIS 7244, at *1 (D.C. Cir. Apr. 13, 2004) (per curiam) (Edwards, Randolph,

& Garland, J.J.) (granting writ of mandamus requiring the district court to halt “any and all

proceedings” pending resolution of an appeal from a denial of foreign sovereign immunity).




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Dated: Washington, D.C.
       October 5, 2018

                                           Respectfully submitted,

                                           CURTIS, MALLET-PREVOST,
                                           COLT & MOSLE LLP

                                           By: /s/ Joseph D. Pizzurro
                                           Joseph D. Pizzurro
                                           (D.C. Bar No. 468922)
                                           1717 Pennsylvania Avenue, N.W.
                                           Washington, D.C. 20006
                                           Tel.: (202) 452-7373
                                           Fax: (202) 452-7333
                                           Email: jpizzurro@curtis.com

                                           -and-

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                                           Juan O. Perla (pro hac vice)
                                           101 Park Avenue
                                           New York, NY 10178
                                           Tel.: (212) 696-6000
                                           Fax: (212) 697-1559
                                           Email: kmeehan@curtis.com
                                           Email: jperla@curtis.com

                                           Attorneys for Respondents Federal
                                           Republic of Nigeria and Ministry of
                                           Petroleum Resources of the Federal
                                           Republic of Nigeria




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

PROCESS AND INDUSTRIAL
DEVELOPMENTS LIMITED,

                       Petitioner,
                                                    Case No. 18-cv-594 (CRC)
                       v.

FEDERAL REPUBLIC OF NIGERIA and
MINISTRY OF PETROLEUM
RESOURCES OF THE FEDERAL
REPUBLIC OF NIGERIA,

                       Respondents.

                                      OPINION AND ORDER

       Petitioner Process and Industrial Developments Limited (“P&ID”) brought an action in

this Court to confirm an arbitral award against Respondents the Federal Republic of Nigeria and

its Ministry of Petroleum Resources (together, “Nigeria”), pursuant to the 1958 Convention on

the Recognition and Enforcement of Foreign Arbitral Awards (“New York Convention”).

Nigeria filed a Motion to Dismiss the Petition, claiming immunity under the Foreign Sovereign

Immunities Act (“FSIA”). In response, P&ID has filed what it styles a Motion for a Briefing

Schedule, which Nigeria opposes. In short, the parties disagree about how to proceed: P&ID’s

Motion asks the Court to continue under summary motions practice, which would require

Nigeria to present now all defenses—jurisdictional or otherwise—in response to the Petition.

Nigeria seeks instead an initial ruling on the Court’s jurisdiction before briefing the merits of the

Petition. In light of analysis by the D.C. Circuit and another court in this district, the Court will

grant P&ID’s Motion.

       The FSIA immunizes a foreign state from suit except in limited circumstances. 28 U.S.C.

§ 1604. The so-called arbitration exception allows actions against foreign states “to confirm an



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award made pursuant to . . . an agreement to arbitrate, if . . . the agreement or award is or may

be governed by a treaty or other international agreement in force for the United States calling for

the recognition and enforcement of arbitral awards[.]” Id. § 1605(a)(6). The New York

Convention is one such international agreement and is codified in Chapter 2 of the Federal

Arbitration Act (“FAA”). See 9 U.S.C. § 201, et seq. The FAA directs courts to hear petitions

to confirm awards under the procedures governing motions practice. Id. § 6.

       Nigeria maintains that because the FAA does not distinguish between sovereign and

private respondents, the FSIA takes precedence and entitles it to an initial jurisdictional

determination. See Respondents’ Opp’n to Mot. for Briefing Schedule (“Opp’n”) at 5-7.

Nigeria’s reliance on the FSIA as a jurisdictional bar to confirming the award is familiar, but its

insistence on bifurcated proceedings is less common. Even when sovereign nations have filed

motions to dismiss such petitions, they have also filed responses on the merits, and courts

typically have addressed all defenses together. See, e.g., Balkan Energy Ltd. v. Republic of

Ghana, 302 F. Supp. 3d 144, 149 (D.D.C. 2018), appeal docketed, Case No. 18-7064 (D.C. Cir.

Apr. 30, 2018); BCB Holdings Ltd. v. Gov’t of Belize, 110 F. Supp. 3d 233, 238 (D.D.C. 2015).

       The D.C. Circuit’s decision in TermoRio S.A. E.S.P. v. Electranta S.P., 487 F.3d 928

(D.C. Cir. 2007), charts the appropriate course here. It explained that the FAA’s instruction in

its Chapter 1 that “[a]ny application to the court . . . shall be made and heard in the manner . . .

for the making and hearing of motions,” applies to its Chapter 2, which codifies the New York

Convention. Id. at 940 (first alteration in original) (quoting 9 U.S.C. § 6). The court concluded

that, as a consequence, “it appears that motions to enforce arbitral awards [pursuant to the New

York Convention] should proceed under motions practice, not notice pleading.” Id. Importantly,




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the TermoRio respondents included Colombia, a sovereign under the FSIA, and the court gave

no indication that this fact altered its analysis.

        Nigeria attempts to cabin TermoRio, contending that because the court “held that a

petition is properly dismissed, as opposed to granted, in a summary procedure where the foreign

state voluntarily presented its jurisdictional and merits defenses at the same time,” it “did not

address whether a motion to dismiss under the FSIA was sufficient as an initial response to a

petition to confirm an award.” Opp’n at 7 n.3 (emphasis deleted). True, the procedural posture

of that case differs from this one and the circuit did not answer the precise question before this

Court. But as P&ID notes, the TermoRio district court had found it had subject-matter

jurisdiction over the arbitration claim notwithstanding Colombia’s invocation of the FSIA. See

TermoRio S.A. E.S.P. v. Electrificadora Del Atlantico S.A. E.S.P., 421 F. Supp. 2d 87, 93-94

(D.D.C. 2006). Assessing that decision, the D.C. Circuit found it “clear that the District Court

[had] properly addressed [the] application for enforcement of the arbitration award” because it

had “reviewed [the] application and [the] response, reviewed the affidavits submitted by the

parties in support of their respective positions, and, on the basis of that review, arrived at its

judgment.” TermoRio, 487 F. 3d at 940. More generally, TermoRio explained in detail how

cases brought pursuant to the New York Convention should proceed and gave no indication that

the FSIA alters those procedures; its instruction is sufficiently broad to apply here. This Court

declines to ignore the circuit court’s directive based on differences in procedural posture.

        Another court in this district recently reached a similar conclusion. In Balkan Energy

Ltd. v. Republic of Ghana, a sovereign-nation respondent moved to dismiss for lack of

jurisdiction under the FSIA and submitted additional filings in which it raised merits defenses.

302 F. Supp. 3d at 149. The court depicted Ghana’s procedural maneuvers as dubious, id., and


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cited TermoRio for the proposition that, pursuant to the FAA, “Ghana should have included all

arguments and supporting affidavits for denial of the Petition in its response to the Petition,

rather than submitting them in piecemeal fashion.” Id. at 149 n.2.

        Despite these decisions, Nigeria insists that it has an “absolute right to a definitive

sovereign immunity determination before being required to defend this lawsuit on the merits.”

Opp’n at 2. But the cases it cites contemplate potentially arduous discovery and trial on the

merits. See, e.g., Bolivarian Republic of Venezuela v. Helmerich & Payne Int’l Drilling Co.,

137 S. Ct. 1312 (2017) (lawsuit regarding liability for expropriation of property); Price v.

Socialist People’s Libyan Arab Jamahiriya, 389 F.3d 192, 197 (D.C. Cir. 2004) (claim of torture

and terrorism); Phoenix Consulting Inc. v. Republic of Angola, 216 F.3d 36, 39 (D.C. Cir. 2000)

(noting, in breach of contract action, that FSIA creates “an immunity from trial and the attendant

burdens of litigation . . . . [and] to defer the question is to frustrate the significance and benefit of

entitlement to immunity from suit.” (emphasis added) (internal quotation marks and citation

omitted)). By contrast, the FAA’s procedural provisions ensure swift resolution of P&ID’s

Petition: Nigeria need only submit a single opposition to the Petition, to which P&ID must then

reply. This limited process does not rise to the level of discovery, trial, or other procedures from

which immunity is designed to shield foreign sovereigns. Cf. Balkan Energy, 302 F. Supp. 3d at

157 (rejecting request for discovery to ensure that “proceeding remain summary in nature”

(internal quotation marks and citation omitted)).

        Nigeria maintains that this case is distinct because it plans to present intricate defenses

including that “enforcement of the award would violate United States public policy against

contractual penalties and against imposing punitive damages on foreign states.” Opp’n at 9. But

these types of merits defenses are “frequently raised” and “rarely . . . successful.” Balkan


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Energy, 302 F. Supp. 3d at 158 (quoting BCB Holdings Ltd., 110 F. Supp. 3d at 249)). Nigeria’s

ostensibly complex merits defenses may succeed, but their mere invocation is insufficient to

upend the FAA procedures that the D.C. Circuit has directed this Court to follow. And, in any

event, Nigeria has not explained how separate jurisdictional and merits stages, with attendant

appeals, would alleviate its burdens relative to the ordinary process of a single round of briefing

under motions practice.

          For the foregoing reasons, it is hereby

          ORDERED that [31] Petitioner’s Motion to Set a Briefing Schedule is GRANTED. It is

further

          ORDERED that parties shall adhere to a briefing schedule as follows: Respondents shall

file their opposition to [1] Petition to Confirm Arbitration Award on or before October 31, 2018;

Petitioner shall file its reply on or before November 21, 2018. It is further

          ORDERED that Respondents’ opposition to [1] Petition to Confirm Arbitration Award

shall include all jurisdictional and merits arguments that it asks the Court to consider.

          SO ORDERED.




                                                              CHRISTOPHER R. COOPER
                                                              United States District Judge

Date: October 1, 2018




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